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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 BAY PARK CENTER FOR NURSING &
 REHABILITATION LLC et al.,                                                   JUDGMENT
                                                                              20-CV-6291-NGG-SJB
                           Plaintiffs,                                        21-CV-1999-NGG-SJB
                                                                              21-CV-2006-NGG-SJB
                           v.                                                 21-CV-2009-NGG-SJB
                                                                              21-CV-2021-NGG-SJB
 BEN PHILIPSON, et al.,                                                       21-CV-2025-NGG-SJB
                                                                              21-CV-2030-NGG-SJB
                                                                              21-CV-2031-NGG-SJB
                           Defendants.                                        21-CV-2034-NGG-SJB
                                                                              21-CV-2035-NGG-SJB
                                                                              21-CV-2045-NGG-SJB

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         An Order of Honorable Sanket J. Bulsara, United States Magistrate Judge, having been filed

 on March 7, 2023, granting the motion for attorney’s fees in part; awarding the Fee Applicants

 $24,731.20 in attorney’s fees; it is

         ORDERED and ADJUDGED that the motion for attorney’s fees is granted in part; and that

 the Court awards the Fee Applicants $24,731.20 in attorney’s fees.

 Dated: Brooklyn, NY                                                   Brenna B. Mahoney
        April 11, 2023                                                 Clerk of Court

                                                                 By:   /s/Jalitza Poveda
                                                                       Deputy Clerk
